     Case 1:23-mj-00230-RSK ECF No. 21, PageID.313 Filed 03/27/24 Page 1 of 5




                                UNITED STATES OF AMERICA

       UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF MICHIGAN

                                 SOUTHERN DIVISION
                         __________________________________

UNITED STATES OF AMERICA,

                       Plaintiff,


v.                                                    No. 1:23-mj-00230-RSK

                                                      Hon. Raymond S. Kent
ANDREW BLAIR HOWARD                                   U.S. Magistrate Judge

                       Defendant.

_____________________________/


                        DEFENDANT ANDREW BLAIR HOWARD’S
                         INITIAL SENTENCING MEMORANDUM

I.      Introduction

        On May 23, 2023, the government filed a two-count Class B Misdemeanor

Information charging Defendant Andrew Blair Howard with tampering (Count 1) and

vandalizing (Count 2) property within the boundaries of Sleeping Bear Dunes National

Lakeshore. On February 7, 2024, following a bench trial, Mr. Howard was found guilty

of both Counts. The offenses are each punishable by maximum penalties of not more

than 6 months and/or a $5,000 fine (36 C.F.R. § 1.3(a); 18 U.S.C. § 1865(a)), probation

of up to five years (18 U.S.C. § 3561(c)(2)), a $10 special assessment (18 U.S.C. §

3013), restitution (18 U.S.C. § 3663A), and “cost of the proceedings”(18 U.S.C.

§ 1865(a); 36 C.F.R. § 1.3).

                                           1
      Case 1:23-mj-00230-RSK ECF No. 21, PageID.314 Filed 03/27/24 Page 2 of 5




         The matter is scheduled for sentencing on April 17, 2024 and the defense

submits this memorandum in support of its position at sentencing.1

II,      Facts

         Andrew Howard, the son of Darroll and Sally Howard, was born in Big Rapids,

Michigan. At a young age, through his relationships with his father and grandfathers,

he developed a passion (and respect) for Michigan’s outdoors. He vividly remembers

catching his first fish as a five-year-old.

         Andy graduated from Saginaw Douglas MacArthur High School where he played

tennis and was in the marching band. After high school he enrolled at Central Michigan

University and earned his Bachelor of Science in Business Administration with a

concentration in finance and insurance. Following college, and attracted to the financial

services industry, he took courses related to his college degree through the American

College of Financial Services.2

         At age twenty-three, Andy was the youngest person in the nation to earn the title

of “Chartered Financial Consultant”. 3

         After working for three years as an agent for Equitable Life Insurance Company

Andy took a risk. He ultimately opened his own office, Premier Financial Consultants,

Inc., becoming an independent financial advisor in Grand Rapids, Michigan. In the

process he accumulated significant debt and his family experienced lean times as he


         1
      The Court did not order that a presentence investigation report be prepared for
Mr. Howard. See W.D.Mich. LcrR 32.2.
         2
         The college offers professional training and certification to all types of financial
practitioners - certified financial planners, chartered financial consultants, and advanced
degrees in financial services education.
         3
       Such a certification requires a minimum of three years of experience in the
profession before that designation can be utilized by a financial planner.

                                              2
  Case 1:23-mj-00230-RSK ECF No. 21, PageID.315 Filed 03/27/24 Page 3 of 5




built his own business from scratch. But Andy understood one thing that would make

success possible - earning trust from other professionals in the industry and, most

importantly, earning the trust of his clients, both individuals and corporate, including

Amway, Bissell Corporation and Lear Siegler, Inc. During 1986, Andy, exclusively,

designed and developed the medical insurance plan endorsed by the Kent County

Medical Society.

       Andy has been married to his wife, Maribeth, for twenty-seven years and the

couple has raised three children - a son and twin daughters, all of whom, Andy is proud

and grateful to say, are college graduates.4 The family regularly attends Calvary

Church in Grand Rapids.

       Andy’s appreciation and respect for wildlife and the environment are born out of

not only his outdoor activities but also through his major financial contributions to

wildlife enhancement organizations such as the Michigan Chapter of the Ruffed Grouse

Society.

       On September 5, 2016, Andy Howard saved the life of a kayaker in Platte Bay

when two kayakers capsized. Andy searched the bay in the dark - more than two miles

offshore - and located the survivor by repeatedly turning off his engine and then

listening quietly, until he located the kayaker, picking him up from the choppy waters.

Then Andy radioed the United States Coast Guard and began searching for the other

kayaker who, unfortunately, drowned. See Exhibit A.




       4
      Andy has the proud privilege of working with one of his daughters, Kelsey, at
Premier, the business that he created.

                                             3
       Case 1:23-mj-00230-RSK ECF No. 21, PageID.316 Filed 03/27/24 Page 4 of 5




III.      Discussion

          The United States Sentencing Guidelines do not apply to this matter.5 The

Guidelines, however, would appear, in light of the foregoing, to support the imposition

of a minimal sentence based upon Andy’s background. Andy Howard has no criminal

history that would caution the Court to treat him as anything but a first time offender.

          His conduct - taking a shovel and moving a minimal amount of sand and rocks in

an already-existing, major flow of a channel that already existed when he arrived would

support the imposition of a minimal sentence in the matter.

          Were the Sentencing Guidelines to apply, the Court would “impose a sentence

sufficient, but not greater than necessary, to comply with the purposes” of sentencing.

18 U.S.C. § 3553(a). In determining the appropriate sentence, the Court would

consider:

          (1) the nature and circumstances of the offense and the history and
                 characteristics of the defendant;

          (2) the need for the sentence imposed –

                (A) to reflect the seriousness of the offense, to promote respect for
                the law, and to provide just punishment for the offense;

                (B) to afford adequate deterrence to criminal conduct;

                (C) to protect the public from further crimes of the defendant; and

                (D) to provide the defendant with needed educational or vocational
                training, medical care, or other correctional treatment in the
                most effective manner.

18 U.S.C. § 3553 (a)(1)-(2).


          5
         The guidelines do not apply to any count of conviction that is a Class B or C
misdemeanor or an infraction. See §1B1.9 (Class B or C Misdemeanors and
Infractions).

                                              4
  Case 1:23-mj-00230-RSK ECF No. 21, PageID.317 Filed 03/27/24 Page 5 of 5




       The Court is would also be instructed to consider:

              (3) the kinds of sentences available;

              (4) the kinds of sentences and the sentencing guidelines range for the
              offense;

              (5) any pertinent policy statement regarding the sentencing guidelines;

              (6) the need to avoid unwarranted sentencing disparities among
              defendants with similar records who have been found guilty of
              similar conduct; and,

              (7) the need to provide restitution to any victims.

18 U.S.C. § 3553(a)(3)-(7).

       First and foremost, Andy Howard did not have any involvement in digging the

channel that redirected the flow of the Platte River into Lake Michigan. It was the new

channel to the lake that drew the attention of the park rangers. Recall, at the time that

the channel opened up, described as a calam itous event, Andy was in Frankfort,

Michigan, at 4:23 pm that day, almost an hour’s travel time away buying shovels. But

the channel was dug by others. Andy’s efforts upon his arrival were to move sand and

rocks so he could get his boat through the area dug by others. As argued by counsel at

the trial of this matter, Andy’s actions did not cause the river to be diverted; his actions

had but a de minimis effect, if that.

       It is against this backdrop, along with the information provided above, that a

minimal sentence if respectfully requested.

                                                  Respectfully submitted,

Dated: March 27, 2024                             /s/ Anthony J. Valentine
                                                  Anthony J. Valentine
                                                  Attorney for Defendant
                                                    Andrew Blair Howard
                                                  Ste. 227, 29 Pearl Street, N.W .
                                                  Grand Rapids, MI 49503
                                                  (616) 288-5410
                                                  tonyvalentinelaw@gmail.com

                                              5
